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                   Exhibit 20
                               Case 3:16-cr-00411-VC Document 116-20 Filed 09/19/17 Page 2 of 2
(22822 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                           8/22/17, 4)27 PM


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  Spam (42)
                                                                                                                                                          Search Now
                                        Hi Naum:
  Trash
                                        I hope you are well.
  Smart Views                           Our compliance guy told me that if we develop a brand new design for a weapon sight that that falls
                                        under ITAR restrictions.
    Important                           As a Non-ITAR option, we can supply you with a 100, 50 and 35mm developed for a security camera
    Unread                              application.
                                        Take a look at the attached lens prints(50mm & 100mm) to see if they will work for you.
    Starred                             If so, I will forward the prints for the 35 as well.
    People                              Rgds,
                                        Devin
    Social
    Shopping
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  You Will Never Believe Who
  This Star Is!




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